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12
13                                   UNITED STATES DISTRICT COURT
14                                   EASTERN DISTRICT OF CALIFORNIA
15
16 RALPH COLEMAN, et al.,                             Case No. 2:90-CV-00520-KJM-DB
17                     Plaintiffs,                    STIPULATION AND ORDER
                                                      EXTENDING TIME FOR JOINT
18            v.                                      REPORT PER ECF NO. 8066
19 GAVIN NEWSOM, et al.,                              Judge: Hon. Kimberly J. Mueller
20                     Defendants.
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                  STIPULATION AND ORDER EXTENDING TIME FOR JOINT REPORT PER ECF NO. 8066
     Case 2:90-cv-00520-KJM-DB Document 8184 Filed 04/03/24 Page 2 of 3


 1            On November 15, 2023, the Court set a hearing on April 26, 2024 regarding “issues
 2 related to enforcement of remedial requirements for timely transfer to inpatient care and
 3 the status of defendants’ compliance with the court’s October 11, 2023 Order, ECF No.
 4 8009, regarding compliance with required staffing levels in the CDCR PIPs.” Order, Nov.
 5 15, 2023, ECF No. 8066 at 5. The Court ordered the parties to meet and confer under the
 6 supervision of the Special Master regarding revisions to Defendants’ Least Restrictive
 7 Housing policy and other steps to enhance class members’ access to DSH, as well as
 8 development of programs for class members with personality disorders, and ordered the
 9 parties to file a joint report about these topics and Defendants’ compliance with PIP
10 staffing requirements on April 12, 2024. Id.
11            Plaintiffs request a one-week extension of time until April 19, 2024 to file the joint
12 report, and Defendants do not oppose this request. Both lead attorneys from Plaintiffs’
13 counsel with direct responsibility for the issues to be covered by the joint report will be
14 unavailable due to family obligations during the week of the current deadline.
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                  STIPULATION AND ORDER EXTENDING TIME FOR JOINT REPORT PER ECF NO. 8066
     Case 2:90-cv-00520-KJM-DB Document 8184 Filed 04/03/24 Page 3 of 3


 1            A one-week extension would allow counsel for both parties to have adequate time
 2 to negotiate, coordinate, and jointly prepare the ordered report.
 3
 4 DATED: March 12, 2024                       ROSEN BIEN GALVAN & GRUNFELD LLP
 5
 6                                             By: /s/ Jenny S. Yelin
                                                   Jenny S. Yelin
 7
 8                                             Attorneys for Plaintiffs

 9
     DATED: March 12, 2024                     HANSON BRIDGETT LLP
10
11
                                               By: /s/ Samantha Wolff
12                                                 Samantha Wolff
13
                                               Attorneys for Defendants
14
15 DATED: March 12, 2024                       ROB BONTA, ATTORNEY GENERAL OF
                                               CALIFORNIA
16
17                                             By: /s/ Elise Thorn
18                                                 Elise Thorn
19                                             Attorneys for Defendants
20
21                                                ORDER

22
              The parties are granted an extension to April 19, 2024 to file the joint report that is
23
     required by the Court’s November 15, 2023 Order, ECF No. 8066.
24
              IT IS SO ORDERED.
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26 DATED: April 2, 2024.
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                  STIPULATION AND ORDER EXTENDING TIME FOR JOINT REPORT PER ECF NO. 8066
